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17

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   JANE ROE, an individual; MARY ROE,                             Case No. 3:24-cv-01562-DMR
19 an individual; SUSAN ROE, an
   individual; JOHN ROE, an individual;                           [PROPOSED] ORDER
20 BARBARA ROE, an individual;
   PHOENIX HOTEL SF, LLC, a
21 California limited liability company;
   FUNKY FUN, LLC, a California limited
22 liability company; and 2930 EL
   CAMINO, LLC, a California limited
23 liability company,

24                                    Plaintiffs,

25        v.

26 CITY AND COUNTY OF SAN
   FRANCISCO, a California public entity,
27
                       Defendants.
28

                                                              1
                                                       [PROPOSED] ORDER
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 1        On March 14, 2024, Plaintiffs Jane Roe, et al., filed an administrative motion
 2 to relate Jane Roe, et al., v. City and County of San Francisco, Case No. 3:24-cv-

 3 01562-DMR(“Jane Roe”), filed on March 14, 2024, to UC Law SF College of the Law,

 4 et al., v. City and County of San Francisco, Case No. 4:20-cv-03033-JST (“UC Law

 5 SF”), filed on May 4, 2020. As the judge assigned to the first filed action, I find Jane

 6 Roe to be related to UC Law SF.

 7        Accordingly, it is ORDERED that Jane Roe, et al. v. City and County of San
 8 Francisco (Case No. 3:24-cv-01562-DMR) (“Jane Roe”), is reassigned to this Court,

 9 and the clerk shall so notify the parties.

10        IT IS SO ORDERED

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13 Dated: _____________________                     ______________________________
                                                    HONORABLE JON S. TIGAR
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                                                    United States District Judge
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                                      [PROPOSED] ORDER
